Case 14-61109-lrc        Doc 66    Filed 10/03/17 Entered 10/03/17 12:20:56           Desc Main
                                   Document      Page 1 of 8


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           *    CASE NO. 14-61109-LRC
                                                 *
SHAHRIAR GOVAHI-KASHANI,                         *
                                                 *    CHAPTER 13
                                                 *
                                                 *
                                                 *
                   DEBTOR.                       *

                                  CERTIFICATE OF SERVICE


         I certify that I served the Debtor with a true and correct copy of the “Amendment to
Chapter 13 Schedules B, C, Summary of Schedules and Statistical Summary”.



         I further certify that, by agreement of the parties, Adam Goodman, Standing Chapter 13
Trustee, was served via the ECF electronic mail/noticing system.


                                                     Dated: 10/3/2017

                                                         /s/
Clark & Washington, LLC                              Thomas J Reichard
3300 Northeast Expressway                            Attorney for the Debtor
Building 3                                           GA Bar No. 150822
Atlanta, GA 30341
(404)522-2222
Fax (770)220-0685




/pw
                Case 14-61109-lrc                      Doc 66          Filed 10/03/17 Entered 10/03/17 12:20:56                        Desc Main
                                                                       Document      Page 2 of 8
B6B (Official Form 6B) (12/07)


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  In re         Shahriar Govahi Kashani                                                                            Case No.       14-61109
                                                                                                       ,
                                                                                      Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Checking Account with Bank of America                           -                              0.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Savings Account with Bank of America                            -                              5.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Household Goods And furnishings                                 -                        1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing                                                        -                           200.00

7.    Furs and jewelry.                                       Jewelry                                                         -                           200.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >            1,405.00
                                                                                                                  (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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                Case 14-61109-lrc                      Doc 66          Filed 10/03/17 Entered 10/03/17 12:20:56                        Desc Main
                                                                       Document      Page 3 of 8
B6B (Official Form 6B) (12/07) - Cont.




  In re         Shahriar Govahi Kashani                                                                            Case No.       14-61109
                                                                                                       ,
                                                                                      Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         Personal Injury Claim                                           -                              0.00
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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                Case 14-61109-lrc                      Doc 66          Filed 10/03/17 Entered 10/03/17 12:20:56                         Desc Main
                                                                       Document      Page 4 of 8
B6B (Official Form 6B) (12/07) - Cont.




  In re         Shahriar Govahi Kashani                                                                            Case No.        14-61109
                                                                                                       ,
                                                                                      Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2007 BMW 550i Nav                                                -                     12,000.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                              Sub-Total >          12,000.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >         13,405.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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                 Case 14-61109-lrc                      Doc 66          Filed 10/03/17 Entered 10/03/17 12:20:56                               Desc Main
                                                                        Document      Page 5 of 8
 B6C (Official Form 6C) (4/13)


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   In re         Shahriar Govahi Kashani                                                                             Case No.           14-61109
                                                                                                         ,
                                                                                       Debtor

                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                        Value of                 Current Value of
                   Description of Property                                        Each Exemption                            Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account with Bank of America             O.C.G.A. § 44-13-100(a)(6)                                                             0.00                             0.00

Savings Account with Bank of America                                     O.C.G.A. § 44-13-100(a)(6)                                      5.00                             5.00

Household Goods and Furnishings
Household Goods And furnishings                                          O.C.G.A. § 44-13-100(a)(4)                                1,000.00                         1,000.00

Wearing Apparel
Clothing                                                                 O.C.G.A. § 44-13-100(a)(4)                                  200.00                           200.00

Other Contingent and Unliquidated Claims of Every Nature
Personal Injury Claim                             O.C.G.A. § 44-13-100(a)(6) Debtor                                                      0.00                             0.00
                                                  reserves the right to amend and
                                                  exempt

Automobiles, Trucks, Trailers, and Other Vehicles
2007 BMW 550i Nav                                                        O.C.G.A. § 44-13-100(a)(3)                                  195.00                       12,000.00




                                                                                                         Total:                    1,400.00                       13,205.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                 Case 14-61109-lrc                     Doc 66          Filed 10/03/17 Entered 10/03/17 12:20:56                 Desc Main
                                                                       Document      Page 6 of 8
B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                        NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION
  In re          Shahriar Govahi Kashani                                                                      Case No.      14-61109
                                                                                                       ,
                                                                                      Debtor
                                                                                                              Chapter                     13




                                                      SUMMARY OF SCHEDULES - AMENDED
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF          ASSETS                 LIABILITIES               OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                         0.00


B - Personal Property                                          Yes           3                  13,405.00


C - Property Claimed as Exempt                                 Yes           1


D - Creditors Holding Secured Claims                           Yes           1                                           11,805.00


E - Creditors Holding Unsecured                                Yes           1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           3                                           16,701.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           2                                                                     6,545.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                     6,145.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   16


                                                                       Total Assets             13,405.00


                                                                                        Total Liabilities                28,506.00




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                  Case 14-61109-lrc                    Doc 66          Filed 10/03/17 Entered 10/03/17 12:20:56                     Desc Main
                                                                       Document      Page 7 of 8
B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                         NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION
  In re           Shahriar Govahi Kashani                                                                            Case No.   14-61109
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                 13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                  0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                                0.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                       6,545.00

              Average Expenses (from Schedule J, Line 22)                                                     6,145.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                        2,035.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                           0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                  0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                               16,701.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           16,701.00




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Case 14-61109-lrc        Doc 66     Filed 10/03/17 Entered 10/03/17 12:20:56           Desc Main
                                    Document      Page 8 of 8


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           *   CASE NO. 14-61109-LRC
                                                 *
SHAHRIAR GOVAHI-KASHANI,                         *
                                                 *   CHAPTER 13
                                                 *
                                                 *
                                                 *
                   DEBTOR.                       *
              UNSWORN DECLARATION UNDER PENALTY OF PERJURY
         I, Shahriar Govahi-Kashani, hereby certify under penalty of perjury that the attached
pleading is true and correct to the best of my information and belief.


Date        10/2/2017


Signed      s/_______________________
            Shahriar Govahi-Kashani




/pw
